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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND


JUDY JIEN, et al.,                                       C.A. No. 1:19-cv-02521-SAG

                                     Plaintiffs,         CLASS PLAINTIFFS’ AND
                                                         DEFENDANT TYSON FOODS,
                       v.                                INC.’S AND KEYSTONE FOODS,
                                                         LLC’S JOINT NOTICE OF
PERDUE FARMS, INC., et al.,                              SETTLEMENT AND STIPULATION
                                                         FOR SUSPENSION OF
                                  Defendants.            PROCEEDINGS



       Class Plaintiffs and Defendants Tyson Foods, Inc. and Keystone Foods, LLC (collectively,

“Tyson” and, together with Class Plaintiffs, the “Parties”) respectfully write to the Court to provide

notice that Class Plaintiffs have reached an agreement with Tyson to settle all claims against it.

This agreement is subject to the Court’s approval pursuant to Federal Rule of Civil Procedure 23.

Consistent with the Parties’ agreement, Class Plaintiffs will move for preliminary approval of a

proposed settlement in the near future.

       The Parties further stipulate that all proceedings between them be suspended by the Court

consistent with the terms of their settlement agreement, which will be provided to the Court in

connection with Class Plaintiffs’ motion for preliminary approval of the proposed settlement.



 Dated: August 12, 2024                            Respectfully submitted,

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Dated: August 12, 2024             Respectfully submitted,


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                                   and Keystone Foods, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2024, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notice to counsel for all parties that have

appeared in this case.


                                                 /s/ Shana E. Scarlett




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